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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION
                      _____________________________________

DERICK MILLER,

       Plaintiff,

v.                                             Civil Action No. 5:23-CV-00069-C

FEDERAL CROP INSURANCE
CORPORATION;

THE RISK MANAGEMENT AGENCY of
the UNITED STATES DEPARTMENT OF
AGRICULTURE; And

THOMAS J. VILSACK, in his capacity as
Secretary of the United States Department of
Agriculture,

       Defendants.

                       DEFENDANT’S BRIEF IN SUPPORT

                                       Respectfully submitted,

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        The Federal Crop Insurance Corporation (“FCIC”), the Risk Management Agency

(“RMA”), an agency of the United States Department of Agriculture (“USDA”), and

Thomas J. Vilsack, in his capacity as Secretary of the USDA (“Secretary”), (collectively,

the “Defendants”), cross-move for summary judgment in Defendants’ favor on all claims

in this case and to deny Plaintiff Derick Miller’s Motion for Summary Judgment.

                                        I.   Summary

        This is an action for judicial review under the Administrative Procedure Act, 5

U.S.C. §§ 701–706, et seq., of a final agency action relating to the federal crop insurance

program. Plaintiff seeks review of RMA’s good-farming-practices determination relating

to his 2021 peanut and cotton crops. Federally backed crop insurance covers crop losses

that are unavoidable and due to naturally occurring events; crop insurance does not

protect against losses due to farmers’ negligence or any failure to follow “good farming

practices.” Thus, USDA-backed crop insurance policies contain an exclusion for losses

caused by the farmer’s “[f]ailure to follow recognized good farming practices for the

insured crop.” 7 C.F.R. § 457.8.

        In this case, the RMA investigated Plaintiff’s farming practices after receiving a

confidential complaint that he was not following good farming practices. The RMA

considered the available evidence (including evidence submitted by Plaintiff), consulted

experts, and rationally determined that Plaintiff had failed to follow good farming

practices applicable to his peanut and cotton crops in the 2021 growing season.

Specifically, the RMA found Plaintiff had:

                      • planted too few seeds;


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                      • failed to rotate crops (Plaintiff planted peanuts in 2021
                        in the same field where peanuts were grown in 2020);

                      • applied pre-emergent and post-emergent weed
                        controls too late (which is especially important in
                        Texas for cotton); and

                      • failed to adequately water the peanut fields.

Because the agency rationally determined that Plaintiff had failed to follow good farming

practices based on recognized standards, the available evidence, and qualified experts,

Plaintiff cannot establish that the RMA acted arbitrarily or capriciously in denying his

crop-insurance claims. Therefore, and for the reasons further explained below, the Court

should grant Defendants’ cross-motion for summary judgment, deny Plaintiff’s motion

for summary judgment, and enter final judgment in favor of Defendants dismissing

Plaintiff’s claims with prejudice.

                                        II.   Background

A.      The Federal Crop Insurance Act, 7 U.S.C. §§ 1501–1524.

        The Federal Crop Insurance Act (“the Crop Insurance Act”) is designed to

“promote the national welfare by improving the economic stability of agriculture through

a sound system of crop insurance and providing the means for the research and

experience helpful in devising and establishing such insurance.” 7 U.S.C. § 1502(a).

Congress created the FCIC, a government “corporation” acting as an agency of the

USDA, to administer the Crop Insurance Act. 7 U.S.C § 1503. Congress also created the

RMA to supervise the FCIC and administer all programs authorized under the FCIC. 7

U.S.C. §§ 6933(a), (b)(1)-(3); 7 C.F.R. § 400.701. Crop insurance pursuant to the Crop



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Insurance Act is offered through private insurance companies that are referred to as

“approved insurance providers” or “AIPs.” See 7 U.S.C. § 1502(b)(2). The FCIC

reinsures the AIPs and is the indemnitor for a covered loss. Id.

B.      Crop Insurance Policies

        The Secretary and the FCIC are authorized to issue, and have issued, regulations

necessary to carry out the provisions of the Crop Insurance Act. 7 U.S.C. § 1516(b); 7

C.F.R. § 457. The Common Crop Insurance Policy is found in 7 C.F.R. § 457.8. The

Peanut Crop Insurance Provisions for 2017 and succeeding crop years are set forth in 7

C.F.R. § 457.134. The Cotton Crop Insurance Provisions for 2017 and succeeding crop

years are set forth in 7 C.F.R. § 457.104. Insurance is provided only against certain

causes of loss that occur within the insurance period. Id. Loss due to adverse weather

conditions is an insured cause of loss. Id.

C.      Loss Exclusion for Failure to Follow “Good Farming Practices”

        The Good Farming Practices exclusion is both a statutory and a policy-based

exclusion. The Crop Insurance Act specifically provides for exclusion of losses resulting

from “the failure of the producer to follow good farming practices.” 7 U.S.C.

§ 1508(a)(3)(A)(iii). The Common Crop Insurance Policy’s basic provisions also contain

the same exclusion. 7 C.F.R. § 457.8. “Good Farming Practices” are defined as follows:

        The production methods utilized to produce the insured crop and allow it to
        make normal progress towards maturity and produce at least the yield used
        to determine the production guarantee or amount of insurance, including
        any adjustments for late planted acreage, which are those generally
        recognized by agricultural experts or organic agricultural experts,
        depending on the practice, for the area. We may, or you may request us to,



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        contact FCIC to determine if production methods will be considered “good
        farming practices.”

7 C.F.R. § 457.8. The Crop Insurance Act authorizes the RMA to determine

whether producers are following good farming practices. 7 U.S.C.

§ 1508(a)(3)(A)(iii); 7 C.F.R. § 400.98.

D.      RMA’s Good Farming Practice Standard Handbook

        The Good Farming Practice Standard Handbook for 2021 and Succeeding Crop

Years, Number 14060, issued July 15, 2020 (“Handbook”) provides FCIC-issued

standards and procedures for RMA’s good-farming-practices determinations for the 2021

crop year at issue in this case. 1 The Handbook states that RMA employees should base

good-farming-practices determinations on the agronomic situation of the policyholder

and an opinion from an Agricultural Expert. Handbook ¶ 22(A). The Handbook also

provides guidance on the identity of RMA approved Agricultural Experts and provides a

procedure by which RMA may approve new Agricultural Experts. Handbook ¶ 21(B).

                               III.     Undisputed Material Facts

        In 2021, Plaintiff purchased Crop Risk Insurances, Inc.’s (“CRS”) Crop Insurance

Policies numbered TX 180-4802501-21 and TX 180-4811684-21 (collectively the

“Policies”). The Policies insured the peanut and cotton crops against excess precipitation,

drought, and other natural causes. 7 C.F.R. §§ 457.8, 457.134. On July 9, 2021, RMA



1
 While a handbook does not have the force of law, federal courts defer to agency interpretations
contained in opinion letters or handbooks to the extent that those interpretations have “the power to
persuade.” See, e.g., Christensen v. Harris Cnty., 529 U.S. 576, 587 (2000) (citing Skidmore v. Swift &
Co., 323 U.S. 134, 140 (1944)).



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opened a review on Plaintiff based on a confidential complaint alleging that Plaintiff was

not following good farming practices and informed Plaintiff of this review by letter. AR-

0011.

        On August 31, 2021, CRS Loss Adjusters assessed and performed inspections of

Plaintiff’s peanut and cotton crops. AR 7369.

        On October 12, 2021, Plaintiff initiated a claim on his peanut crops for excessive

wind. AR-7369.

        On October 14, 2021 – April 14, 2022, Plaintiff sent records, receipts, weather

documents, and expert letters to CRS, per their request. AR-6433-39; 7003-16.

        On October 20, 2021, CRS Reviewer James Dunphy, and ag expert, James Todd,

met with Plaintiff via conference call. AR 6662.

        On October 20, 2021 – April 26, 2022, CRS received, compiled, and reviewed

records. AR-0001-6973.

        On May 19, 2022, CRS met with Plaintiff to present their findings. AR 6663.

        On June 9, 2022, CRS issued a Controversial Claim Letter (“CCL”) to Plaintiff,

stating that Plaintiff did not follow good farming practices on his peanut and cotton

crops. AR-6622-30. The decision resulted in i) no indemnity due as the guarantee per

acre was assessed as production to count for irrigated peanuts and ii) a reduction in the

indemnity on Plaintiff’s cotton crops. Id; AR 7370.

        On July 8, 2022, Plaintiff requested a good-farming-practices determination from

RMA. AR-7003-16.

        On August 4, 2022, RMA issued Plaintiff an acknowledgement letter which


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requested any additional documentation that would be pertinent to RMA’s determination.

AR 7439-40.

        On August 19, 2022, Plaintiff provided additional documentation and letters from

Geoff Cooper, County Extension Agent for Terry County, and Justin Tuggle, an

Agricultural Expert, in support of his claim that he had followed good farming practices.

AR-7395; AR-7403-7427.

        On October 25, 2022, RMA issued its good-farming-practices determination in

which it found that Plaintiff did not follow good farming practices. AR-7149-7266. RMA

reviewed materials submitted by both Plaintiff and CRS, PRISM reports, 2 and published

materials. AR 7248. RMA noted that Plaintiff’s offered ag experts, Justin Tuggle and

Geoff Cooper, provided contradictory information to that provided by CRS and their ag

expert, Mark Scott. AR 7251, However, RMA found “the specific observational and

photographic evidence presented by Mark Scott and CRS was more credible than the

general nature or the reports of Mr. Tuggle and Mr. Cooper. Id. RMA concluded that

Miller “failed to follow a generally recognized good farming practice for [his] peanut and

cotton crops, which is not an insurable cause of loss.” AR-7252-3.

        Following RMA’s determination, Plaintiff filed a complaint in the above-


2
  “PRISM reports” refer to precipitation reports produced by the PRISM Climate Group at Oregon State
University (the USDA has a long-term partnership with the PRISM Climate Group) based on the PRISM
technique, which “uses point data in conjunction with a digital elevation model to create gridded datasets
of precipitation and temperature for the U.S.” https://www.nrcs.usda.gov/programs-initiatives/sswsf-
snow-survey-and-water-supply-forecasting-program/national-water-
and#:~:text=PRISM,and%20temperature%20for%20the%20U.S. (last accessed Jan. 9, 2024). PRISM
stands for “Parameter-elevation Regressions on Independent Slopes Model.”
https://prism.oregonstate.edu/FAQ/ (last accessed Jan. 9, 2024).



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captioned case seeking judicial review and declaratory relief pursuant to the APA and the

Crop Insurance Act. AR-7084-148.

                                        IV.   Legal Standards

A.      Summary Judgment Standard

        When the record establishes “that there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law,” summary judgment is

appropriate. Fed. R. Civ. P. 56(a). An issue is considered “genuine” if it is “real and

substantial as opposed to merely formal, pretended, or a sham.” Bazan v. Hidalgo Cnty.,

246 F.3d 481, 489 (5th Cir. 2001); see also Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986) (explaining that a material fact is genuine “if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party”). Facts are considered

“material” only if they “might affect the outcome of the suit under the governing law.”

Anderson, 477 U.S. at 248.

        To prevail on a summary-judgment motion, the moving party bears the initial

burden of demonstrating there is no genuine issue as to any material fact and that it is

entitled to judgment as a matter of law. Celotex Corp. v. Catrett, 477 U.S. 317, 323

(1986). The movant can carry this burden by pointing out the absence of evidence to

support an essential element of the nonmovant’s claim, “since a complete failure of proof

concerning an essential element of the nonmoving party’s case necessarily renders all

other facts immaterial.” Id. Once the movant has done so, the nonmovant must go

beyond the pleadings, and by its own evidence, set forth specific facts showing a genuine

issue for trial. Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994) (citing


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Celotex, 477 U.S. at 324). This burden is not satisfied by creating some metaphysical

doubt as to the material facts, by conclusory allegations, by unsubstantiated assertions, or

by only a scintilla of evidence. Little, 37 F.3d at 1075 (internal citations and quotation

marks omitted).

B.      Standard of Review for APA Claims

        Judicial review under the APA is limited to the administrative record. 5 U.S.C.

§ 706. When a party seeks judicial review of a federal agency’s action under the APA,

the agency action may only be set aside if it is “arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.” Id. § 706(2)(A). Under the APA,

RMA’s good-farming-practices determination may be set aside only if Plaintiff shows

that it was “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law.” Id.; accord Wilson v. U.S. Dep’t of Agriculture, 991 F.2d 1211, 1215 (5th Cir.

1993). RMA’s decision is presumptively valid; Plaintiff bears the burden of showing

otherwise. Tex. Clinical Labs, Inc. v. Sebelius, 612 F.3d 771, 775 (5th Cir. 2010).

        A decision is arbitrary or capricious “only when it is ‘so implausible that it could

not be ascribed to a difference in view or the product of agency expertise.’” Wilson, 991

F.2d at 1215 (citing Gibson v. United States, 11 Cl.Ct. 6, 15 (1986) (quoting Motor

Vehicle Mfg. Ass’n. v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43 (1983)). Plaintiff

must prove that RMA’s findings of fact are not supported by substantial evidence. Buffalo

Marine Servs. Inc. v. United States, 663 F.3d 750, 753-54 (5th Cir. 2011).

        Under the substantial-evidence standard, the Court will look to the existing

administrative record and ask whether it contains “sufficen[t] evidence” to support the


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agency’s factual determination. Biestek v. Berryhill, 139 S. Ct. 1148, 1155 (2019)

(quoting Consol. Edison Co. v. NLRB, 305 U.S. 197, 229 (1939)). The threshold for

“substantial evidence” is “not very high.” Biestek, 139 S. Ct. at 1155. Substantial

evidence is “more than a mere scintilla” and “means only—‘such relevant evidence as a

reasonable mind might accept as adequate to support a conclusion.’” Consol. Edison, 305

U.S. at 229; Biestek, 139 S. Ct. at 1155.

        Furthermore, because the RMA’s review of Plaintiff’s farming practices was

within the agency’s special scientific expertise, the standard of review of RMA’s

determination is “very deferential.” Aquifer Guardians in Urban Areas v. Fed. Highway

Admin., 779 F. Supp. 2d 542, 562 (W.D. Tex. 2011) (citing Ctr. for Marine Conservation

v. Brown, 917 F. Supp. 1128, 1143 (S.D. Tex. 1996)); see also Loggerhead Turtle v.

Cnty. Council, 120 F. Supp. 2d 1005, 1013 (M.D. Fla. 2000) (noting that a court must be

“most deferential” because an agency’s “special scientific expertise” was involved). “An

agency must have discretion to rely on the reasonable opinions of its own qualified

experts even if, as an original matter, the court might find contrary views more

persuasive.” Ctr. for Marine Conservation, 917 F. Supp. at 1143 (quoting Marsh, 490

U.S. at 378); see also Bennett, 5 F. Supp. 2d at 885 (finding that, when specialists express

contrary views, an agency is given discretion to rely on “the reasonable opinions of its

own qualified experts even if, as an original matter, a court might find contrary views

more persuasive” (quoting Marsh, 490 U.S. at 378)). The question for this Court is not

which expert’s opinion the Court finds more persuasive but whether the RMA acted

arbitrarily or capriciously when it relied on the reasonable opinions of its own qualified


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experts.

                                         V.   Argument

        The RMA’s good-farming-practices determination to deny insurance coverage was

based on a legitimate, authorized exception in the 2021 Policy. The record does not

support Plaintiff’s claim that RMA acted arbitrarily and capriciously. To the contrary, the

record shows that RMA based each of its determinations on its review of Plaintiff’s

agronomic situation and production methods, on published material written by

Agricultural Experts, and on an Agricultural Experts’ written opinions. Because RMA

based its determinations on substantial evidence, RMA did not act arbitrarily or

capriciously.

A.      The good-farming-practices determination was based on substantial evidence.

        RMA reviewed Plaintiff’s farming practices in four categories: seeding rates,

irrigation management, crop rotation practices, and weed management. For each

category, RMA reviewed all documents provided by CRS and Plaintiff, and based its

determination on Plaintiff’s agronomic situation and expert opinions. Each category of

RMA’s determination will be discussed separately below.

        1.       Seeding Rate

        RMA reviewed CRS’ photographic evidence which showed that Plaintiff’s peanut

stands “were not comparable to neighboring peanut fields.” AR-7371; AR-7255. The

UGA Peanut Production Guide states that a seeding rate of 73,000 to 87,000 seed/acre is

“typically adequate when planting quality seed in good conditions and maintaining

equipment with recommended operation settings.” AR-7371. During a CRS growing-

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season inspection, Plaintiff stated that his seeding rate was 47,000 seed/acre for all his

peanut crops. AR-7236. The RMA concluded that Plaintiff’s seeding rate was lower than

recommended by agricultural experts. AR-7371. For these reasons, RMA rationally

determined that Plaintiff’s seeding rate failed to follow good farming practices. Id.

        2.       Crop Rotation

        RMA reviewed CRS’ growing season inspections and agricultural experts’

opinions to determine that Plaintiff did not follow proper crop-rotation practices when

planting peanut crops. AR-7371. Plaintiff stated in CRS’ growing-season inspection that

for the 2021 growing season, he planted his peanut crops where peanuts were grown

during the 2020 growing season. AR-7371. The Texas Peanut Production Guide states

that “[c]rop rotation is the key to profitable peanut production” and “[p]eanuts should be

planted in the same field only 1 year out of 3, or in the best case, 1 year out of 4.” AR-

7073. Advantages of crop rotation include “improved soil fertility, reduced disease and

nematode problems and more manageable weed control systems.” Id. For these reasons,

RMA rationally determined that Plaintiff’s crop rotation practices failed to follow good

farming practices. Id.

        3.       Weed Management

        RMA reviewed CRS’s growing-season inspections, photographs of the fields, and

the adjuster’s loss report. AR-7371. Regarding Plaintiff’s peanut crops, RMA concluded

that while pre-emergent weed control and post-emergent chemical and mechanical

controls were applied, “these methods were applied too late to adequately control the

weeds.” AR-7371. Regarding Plaintiff’s cotton crops, RMA consulted Scott’s report


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which stated that the herbicide program Plaintiff used on his cotton crops was “lacking,”

as he did not apply a “yellow herbicide” prior to planting, used non-labeled herbicides on

soils susceptible to crop injury, and did not apply post-emergent topical residual

herbicides in a timely manner. AR-7372. Scott’s report supported CRS’ conclusion that

Plaintiff failed to utilize a proper herbicide program and weed-control measures. Id.

Furthermore, the Texas A&M AgriLife Weed Management in Texas Cotton publication

states, “[e]arly-season weed management” is a “critical” part of any “weed management

program, especially in cotton.” AR-7282. For these reasons, RMA rationally determined

that Plaintiff’s weed-control methods failed to follow good farming practices for both his

cotton and peanut crops. AR-7372.

        4.       Irrigation Management

        RMA consulted the Common Crop Insurance’s Basic Provisions, which defines an

irrigation practice as:

                 a method of producing a crop by which water is artificially
                 applied during the growing season by appropriate systems
                 and at the proper times, with the intention of providing the
                 quantity of water needed to produce at least the yield used to
                 establish the irrigated production guarantee or amount of
                 insurance on the irrigated acreage planted to the insured crop.

AR-7346. RMA independently developed PRISM reports on each of Plaintiff’s peanut

fields and verified the reported precipitation with archival rainfall reports from the

National Weather Service. AR-7373; AR-7304-44. Using these reports, RMA determined

that Plaintiff’s reported rainfall amounts on each of his peanut fields were “overestimated

by an average of 7.75 [inches],” and the water inputs in Plaintiff’s fields ranged from



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“17.34-23.18 [inches].” AR-7373. Texas A&M AgriLife’s Texas Peanut Production

Guide recommends a total seasonal water requirement of 24 to 28 inches for maximum

peanut yield. AR-7073. For these reasons, RMA rationally determined that Plaintiff’s

irrigation practices failed to follow good farming practices. AR-7373.

B.      The RMA’s good-farming-practices determination was neither arbitrary nor
        capricious.

        Plaintiff essentially attempts to engage in a battle of the experts. However, “[a]n

agency must have discretion to rely on the reasonable opinions of its own qualified

experts even if, as an original matter, the court might find contrary views more

persuasive.” Ctr. for Marine Conservation, 917 F. Supp. at 1143 (quoting Marsh v.

Oregon Natural Res. Council, 490 U.S. 360, 378, 109 S. Ct. 1851, 104 L. Ed. 2d 377

(1989)); see also Bennett v. Spear, 5 F. Supp. 2d 882, 885 (D. Ore. 1998) (finding that,

when specialists express contrary views, an agency is given discretion to rely on “the

reasonable opinions of its own qualified experts even if, as an original matter, a court

might find contrary views more persuasive”) (quoting Marsh, 490 U.S. at 378, 109 S. Ct.

1851). The question for this Court is not which expert’s opinion the Court finds more

persuasive but whether the RMA based its determination on substantial evidence by

relying on reasonable opinions of its own qualified experts.

        RMA reviewed all of the documents provided by both Plaintiff and CRS. In

making its scientific findings, RMA relied on a publication created by USDA research

scientists compiling knowledge of cotton- and peanut-production methods, a local cotton

crop consultant, and agricultural experts. RMA found that Plaintiff’s statements regarding



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rainfall were contradicted by the PRISM weather reports for Plaintiff’s farm. RMA based

its determination on substantial evidence, including the reasonable opinions of its own

qualified experts.

                                         VI.   Conclusion

        The RMA’s good-farming-practices determination to deny insurance coverage was

based on a legitimate, authorized exclusion in the 2021 Policy. The record does not

support Plaintiff’s claim that RMA acted arbitrarily and capriciously. To the contrary, the

record shows that RMA followed its own standards by basing each of its determinations

on its review of Plaintiff’s agronomic situation and production methods, on published

material written by Agricultural Experts, and on an additional Agricultural Expert’s

written opinions. Because RMA complied with its own standards and based its

determinations on substantial evidence, RMA did not act arbitrarily or capriciously.



                                                    Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        On January 16, 2024, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all counsel and/or pro

se parties of record electronically or by another manner authorized by Federal Rule of

Civil Procedure 5(b)(2).

                                           /s/ Ann E. Cruce-Haag
                                           ANN E. CRUCE-HAAG
                                           Assistant United States Attorney




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